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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 In Re: COOK MEDICAL, INC., IVC              )
 FILTER MARKETING, SALES                     ) 1:14-ml-02570-RLY-TAB
 PRACTICES AND PRODUCT                       ) MDL No. 2570
 LIABILITY LITIGATION                        )
                                             )
                                             )
 This Document Relates to:                   )

 1:19-cv-01409; 1:19-cv-01413; 1:19-cv-01416; 1:19-cv-03181; 1:19-cv-03383; 1:19-cv-03531;
 1:19-cv-03660; 1:19-cv-04017; 1:19-cv-04074; 1:19-cv-04093; 1:19-cv-04617; 1:19-cv-04965;
 1:20-cv-00107; 1:20-cv-00502; 1:20-cv-00534; 1:20-cv-01002; 1:20-cv-02554; 1:20-cv-02558;
 1:20-cv-02897; 1:20-cv-02898; 1:20-cv-03090; 1:20-cv-03279; 1:20-cv-06123; 1:21-cv-00029;
 1:21-cv-00040; 1:21-cv-00041; 1:21-cv-00197; 1:21-cv-00343; 1:21-cv-00460; 1:21-cv-00466;
 1:21-cv-00500; 1:21-cv-00705; 1:21-cv-00895; 1:21-cv-01344; 1:21-cv-01352; 1:21-cv-01443;
 1:21-cv-01481; 1:21-cv-01619; 1:21-cv-01620; 1:21-cv-01685; 1:21-cv-01764; 1:21-cv-01933;
 1:21-cv-02337; 1:21-cv-02348; 1:21-cv-06564

 CORRECTED ORDER ON THE COOK DEFENDANTS’ MOTION TO DISMISS FOR
      FAILURE TO CURE PLAINTIFF PROFILE SHEET DEFICIENCIES
                         (Filing No. 20469)

       Pursuant to Federal Rule of Civil Procedure 41(b), Federal Rule of Civil Procedure 37, and

Fourth Amended Case Management Order No. 4, Cook Incorporated, Cook Medical LLC, f/k/a

Cook Medical Incorporated, and William Cook Europe ApS (collectively "Cook"), request that

the Court dismiss those cases in which a completed Plaintiff Profile Sheet ("PPS") has not been

submitted.

       Accordingly, Cook's Motion to Dismiss is GRANTED as to the following cases for failure

to cure PPS deficiencies:

                            Plaintiff                 Cause Number
                            Layson, Tammy             1:19-cv-03181
                            Feagins, Sarah            1:19-cv-03383
                            Harris, Hortentia         1:19-cv-03531
                            Anguiano, Oscar           1:19-cv-03660
                            Simko, Stephanie          1:19-cv-04017
                            Witherspoon, Ronald       1:19-cv-04093


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                        Sears, Michelle and Keith    1:19-cv-04617
                        Brown, Vivian                1:20-cv-00107
                        Gomez, Luz A.                1:20-cv-00502
                        Tkachyk, William             1:20-cv-00534
                        [ESTATE OF]
                        Allen, Shawn (NV)            1:20-cv-01002
                        Jenkins, Steve               1:20-cv-02558
                        Barr, Margaret and           1:20-cv-02898
                        William
                        Shank, Franklin              1:21-cv-00029
                        Larner, Sharon               1:21-cv-00460
                        Smith, Shirley               1:21-cv-00705
                        Mincy, Billy                 1:21-cv-00895
                        Roberson, Gary Lee           1:21-cv-01481
                        Letteau, Deborah             1:21-cv-01764
                        Carlson, Stephanie           1:21-cv-02348


       The following cases are DENIED AS MOOT as they were dismissed by prior order:

                        Bawner, Eleanor Carter       1:20-cv-03279
                        Aguilar, Arthur Cornell      1:21-cv-00040
                        Bevis, Victor                1:21-cv-00466
                        Daniels, Dina                1:21-cv-01344
                        Dixon, Veronica              1:21-cv-01352
                        Dill, Kimberly               1:21-cv-01619
                        Curti, Christine and Kevin   1:21-cv-01620
                        Drakeford, Carrie Jean       1:21-cv-01685

       Cook's Motion to Dismiss is DENIED as to the following cases as they have cured their

PPS deficiencies:

                        Simmons, Roberta             1:19-cv-01409
                        Parks, Paulette              1:19-cv-01413
                        Daniels, Iris                1:19-cv-01416
                        Booth, Cheryl                1:19-cv-04074
                        McNew, David                 1:19-cv-04965
                        Whiteside, Nikia             1:20-cv-02554
                        Davis, Jessica               1:20-cv-02897
                        Betz, Bruce Dale             1:20-cv-03090
                        Hargrove, Laray              1:20-cv-06123
                        Bergeron, Lynne              1:21-cv-00041


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                           Balistreri, Steve             1:21-cv-00197
                           (ESTATE OF)
                           Augsburger, Paul              1:21-cv-00343
                           Adkins, Pennie                1:21-cv-00500
                           Sims, Kristy                  1:21-cv-01443
                           Matejek, Leslie               1:21-cv-01933
                           Mitchell, James               1:21-cv-02337
                           Benson, Howard                1:21-cv-06564


The following cases, which were previously dismissed, are hereby REOPENED:

                           Booth, Cheryl                 1:19-cv-04074
                           McNew, David                  1:19-cv-04965
                           Whiteside, Nikia              1:20-cv-02554
                           Davis, Jessica                1:20-cv-02897
                           Betz, Bruce Dale              1:20-cv-03090
                           Hargrove, Laray               1:20-cv-06123
                           Bergeron, Lynne               1:21-cv-00041
                           Balistreri, Steve             1:21-cv-00197
                           (ESTATE OF)
                           Augsburger, Paul              1:21-cv-00343
                           Adkins, Pennie                1:21-cv-00500
                           Sims, Kristy                  1:21-cv-01443
                           Matejek, Leslie               1:21-cv-01933
                           Mitchell, James               1:21-cv-02337
                           Benson, Howard                1:21-cv-06564



All parties shall bear their own fees and costs.


SO ORDERED this 9th day of August 2022.




                                                       s/RLY



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